                               UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF LOUISIANA
                                     SHREVEPORT DIVISION

IN RE                                                             CASE NO.: 17-10456

LILLIE MAE BANKS                                                  JUDGE JEFFREY P. NORMAN

                            Debtor                                CHAPTER 7


                                     NOTICE OF APPEAL
    (Related to Dkt. No. 41, Order and Memorandum Opinion on Acting United States Trustee’s
                     Motion to Disgorge Fees and for Other Appropriate Relief)

         Law Solutions of Chicago LLC, an Illinois limited liability company doing

business in the state of Louisiana as UpRight Law LLC (“UpRight”), appellant, appeals

under 28 U.S.C. § 158(a) and Rule 8003 of the Federal Rules of Bankruptcy Procedure from

this Honorable Court’s Order and Memorandum Opinion on the Acting United States

Trustee’s Motion to Disgorge Fees and for Other Appropriate Relief [Dkt. No. 41] (“The

February 6 Order”), which order and memorandum opinion is dated February 2, 2018, and

was filed into the docket of the above-captioned matter on February 6, 20181; a copy of the

The February 6 Order is attached hereto as EXHIBIT A.

         The February 6 Order ordered relief against inter alia UpRight and Andrea Augustus.


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  UpRight is aware that the United States Trustee has filed a Motion to Enforce February 6, 2018 Order and to
Provide Any Further Relief Necessary [Dkt. No. 46], which is set for hearing on February 20, 2018, at 9:30 am CT.
It appears that the trustee asserts that the order at issue in its motion to enforce is the order at issue in this notice of
appeal. UpRight has filed this notice of appeal in an abundance of caution, considering the requirements of Rules
8002, 9021 and 5003 of the Federal Rules of Bankruptcy Procedure, in particular the requirements regarding timely
filing of a notice of appeal. While the subject order states that it is “done and signed” on February 2, 2018, [Dkt. No.
41 at 1] and while the court’s electronic docket places the order under the date of February 2, 2018, the appealed
order was not placed on the public docket until February 6, 2018. The clerk documented the latter fact by noting
“(Entered: 02/06/2018)” in the text description in the docket entry appearing under the date “02/02/2018.” [Dkt. No.
41]. Thus, while any notice of appeal filed within fourteen days of February 6, 2018, is timely, UpRight Law has
filed this notice of appeal within fourteen days of February 2, 2018, in an abundance of caution.
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       The names of all parties to the order appealed from and the names, addresses, and

telephone numbers of their respective attorneys are as follows:


                              Henry G. Hobbs, Jr.
                              Acting United States Trustee
                              Region 5
                              Attny: Richard Drew
                              300 Fannin Street, Suite 3196
                              Shreveport, LA 71101
                              Ph: (318) 676-3484
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                              Email: Richard.drew@usdoj.gov

                              Andrea Augustus
                              The Augustus Law Firm LLC
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                              Law Solutions Chicago LLC
                              d/b/a UpRight Law LLC
                              Attny: John Duck, LA Bar No. 5014
                              ADAMS AND REESE LLP
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                              701 Poydras Street, Suite 4500
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                              Law Solutions Chicago LLC
                              d/b/a UpRight Law LLC
                              Attny: Patrick L. McCune, La. Bar Roll No. 31863
                              ADAMS AND REESE LLP
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       Dated February 16, 2018
       Baton Rouge, Louisiana
                                     Respectfully submitted:

                                     ADAMS AND REESE LLP

                                     By:/s/Patrick L. McCune
                                        Patrick L. McCune, La. Bar Roll No. 31863
                                        450 Laurel Street, Suite 1900
                                        Baton Rouge, LA 70801
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                                        AND

                                        John Duck, LA Bar No. 5014
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                                        Attorneys for Law Solutions Chicago LLC d/b/a
                                        UpRight Law LLC


                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing document has been served upon

the following parties listed below via electronic means by the Court’s CM/ECF electronic filing

system and/or by placing a copy in the United States mail, first class, postage prepaid and

properly addressed, this 16th day of February, 2018:

Court Electronic notification

       •   Andrea     Augustus   on        behalf      of   Debtor    Lillie   Mae      Banks:
           augustuslawnola@gmail.com
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       •   Angela Smith on behalf of Creditor Law Solutions Chicago LLC:
           amsupright@gmail.com, notices@uprightlaw.com
       •   David Michael Menditto on behalf of Respondent Law Solutions Chicago LLC:
       •   dmenditto@uprightlaw.com, notices@uprightlaw.com
       •   Jason R. Smith on behalf of Creditor Ditech Financial LLC:
           jasonsmith@creditorlawyers.com, ljacob@creditorlawyers.com
       •   John W. Luster: luster_jbr@bellsouth.net, LA29@ecfcbis.com
       •   Office of U. S. Trustee: USTPRegion05.SH.ECF@usdoj.gov
       •   Richard Drew on behalf of U.S. Trustee, Office of U. S. Trustee:
           richard.drew@usdoj.gov

   Notification via first class mail

Mailing matrix of the above-captioned case, attached as EXHIBIT B.

                                                 /s/Patrick _L. McCune________________
                                                 Patrick L. McCune




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